                  Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 1 of 7



1    Lucio Celli
     89 Widmer Road
2    Wappingers Falls, New York 12590
     718-547-9675
3
                                        UNITED STATES COURT FOR THE
4
                                            DISTRICT OF COLUMBIA
5
     LUCIO CELLI,                                         Case No.: 21-cv-03369 (CRC)
6
     Plaintiff,
7
                                                          ADDENDUM TO DECLARATORY AND INJUNCTIVE
     vs.                                                  COMPLAINT AGAINST SHANNON HAMILTON-
8
                                                          KOPPLIN WITH RULE 38 OF THE FEDERAL
     Weingarten et al,                                    RULES OF CIVIL PROCEDURE, PLAINTIFF
9                                                         REQUESTS A TRIAL BY JURY ON ALL ISSUES
                                                          SO TRIABLE
10                         Defendant
11
             In the second amended complaint, I forgot to include facts that would merit
12
     a suit for injunctive relief or declaratory relief against Shannon Hamilton-Kopplin.:
13
                                               I. NATURE OF THE CASE
14

15      1. This is an action for declaratory judgment pursuant to the Federal Declaratory Judgments
16          Act, 28 U.S.C. §§ 2201–2202, and Rule 57 of the Federal Rules of Civil Procedure.

17
        2. This is an action for injunction relief because it appears that Mr. Perez, esq. will not
            provide me with the required representation.
18
              i. What is in between the lines are items that I told Mr. Perez that I wanted him to file
19
                     because filing them protects my rights
20
             ii. Mr. Perez is under the assumption that the appeal and 28 USC § 2106 are the same, but
21
                     the problem is the fact that not filing 28 USC § 2106 affects me
22          iii. Filing an appeal and filing motion pursuant to 28 USC § 2106 are different, which I
23                   provided him a Supreme Court case that alludes to the difference.
24                               3.       Plaintiffs, Lucio Celli bring this action individually. These
25                       plaintiffs (collectively referred to as “Defendant”) bring this action against
26
                       Weingarten et al (with Daniel Perez, esq. named). In terms of Ms. Kopplin—I
27
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 1
               Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 2 of 7



1                     seek to have her to address it is an ethical violation for Sen. Schumer to trade
2
                                       favors as gifts. II. JURISDICTION and PARTIES
3
         4. Federal courts are courts of limited jurisdiction (limited power). Generally, only two types
4
            of can be heard in federal court: cases involving a federal question and cases involving
5
            diversity of citizenship of the parties. Under 28 USC §1331, a case arising under the
6           United States Constitution or federal laws, or treaties is a federal question case. Under 28
7           USC § 1332, a case in which a citizen of one State sues a citizen of another State or nation
8           and the amount at stake is more than $ 75,000 is a diversity of citizenship case. In a
9           diversity of citizenship case, no defendant maybe a citizen of the same State as any

10          plaintiff.
         5. The basis for federal court’s jurisdiction is “Federal Question” and “Diversity of
11
            citizenship”
12

13         Federal Question:
14
              i.    The Constitutional torts are 1st Amendment (Social Contract Doctrine, petition to
15
                    government, access to the court, etc.), 4th Amendment (Detainment, probable cause
16
                    and abuse of process1), 5th Amendment (Due Process Clause), 6th Amendment
17
                    (Effective assistant of counsel, impartial district, calling witnesses2, etc.3) , 14th
18                  Amendment (Due Process, equal protection of the law, etc.4) and 42 USC § 1983
19
           “Diversity of citizenship”
20

21       6. Ms Kopplin. 220 Hart Budling, US Senate Washington, DC 20510
22

23

24

25
     1
       Not sure of this one because I do not have my computer to refer to information
26   2
       I believe the term is compulsory, but not sure because of no computer
     3
       All terms that the Supreme has declared is needed for a fair trial within the 6th Amendment
27   4
       I remember equal protection and due process, but there are others like privileges that applies to my injunction.
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 2
             Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 3 of 7



1      7. Amount in Controversy
2           i.   This is not about money presently, but the looming 3020-a could result in
3                termination, so my yearly salary is well-above threshold of $75,000.

4          ii.   This suit is about showing the country that I did not receive a trial
          iii.   This suit is about showing the country that Sen. Schumer judges helped Randi
5
                 Weingarten deprive me all my constitutional rights
6
          iv.    My termination hearing will focus in on the criminal charges
7
           v.    I want to be able to submit a video brief and show the structural errors
8
          vi.    I want to be able to show how the AUSAs of EDNY helped deprive me of a fair
9                trial, deprived me liberty for Judge Cogan, and covered of Judge Cogan’s crime for
10               his former clients the UFT
11        vii.   I audio recorded and it is better for the public to see a face that corresponds with the
12               voice

13

14
     _____________
15

16

17

18

19     8. I wrote a complaint against Sen. Schumer back in July of 2021
20     9. Ms. Kopplin responded that Sen. Schumer did not commit any ethical
21
          violation
22
       10. Ms. Kopplin did not address the following:
23           a. Judge Donnelly attempted, in a similar manner to Judge Engelmayer,
24
                to lie about her association with Sen. Schumer, but I had to remind her
                that her daughter and Sen. Schumer’s daughter went to the same
25              school. In addition, I had to remind her that Sen. Schumer referred to
26              her as family.
27
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 3
            Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 4 of 7



1          i.   Judge Donnelly did address the association after being reminded about
2               Sen. Schumer’s recommendation to Pres. Obama, but I do not need to
                remind her of the process like Judge Engelmayer.
3
           ii. Judge Donnelly did address the fact, according to her, that she does not
4               know Randi Weingarten expect for what she reads in the newspaper,
                which on the surface is an acceptable answer, but she I am did not get
5
                into Judge Louderbach (impeachment but not convicted) or other judges
6               (criminal cases) who fixed cases for their senators.
7
          iii. The issue was addressed the same day it was brought to Judge
                Donnelly’s attention
8         iv. Told me to forget what happen at the bail hearing and be happy that I
9               still had a job, but a crime was committed against me, and I denied retro
                money for it too
10
       11. Judge Engelmayer insinuated that I was stupid and crazy for suggesting that
11         Sen. Schumer had anything to do with his judgeship and I had no idea and
           knowledge of how a person becomes a judge on Oct. 16, 2020
12
            i. I informed Judge Engelmayer that Sen. Schumer’s recommendation is
13              part of public record and told him he needs to be ashamed of him for
14
                lying for the record
           ii. I informed Judge Engelmayer that Judge Louderbach admitted, during
15              his impeaching hearing, that he fixed cases for Sen. Shortbridge
16        iii. It took Judge Engelmayer until April 16, 2021, to admit that Sen.
                Schumer did recommend him to Pres. Obama.
17
          iv. I forgot to include the audio recording of Judge Engelmayer lying to me
18              the last time, but I sent it to the NY Post Reporter and Officer Greene
                has it. I will include it this time.
19
            v. Judge Engelmayer did not address the issue of recusal
20        vi. Judge Engelamyer did not address whether he knew Randi Weingarten
21
                or not
         vii. Judge Engelmayer deprivation of my intent and defense favored Sen.
22              Schumer and Randi Weingarten
23      viii. Told me that “you will not receive justice here”
          ix. Knew Mr. Silverman and Mr. Taylor lied about the bail hearing
24
            x. Mr. Silverman with my other lawyers deprived me of retro money
25              because Randi paid the lawyers and the judges.
          xi. April 6, 2021, Judge Engelmayer told me what my intent with defense
26
                was and was not, so he practiced law—as if he was me and my lawyer,
27              but I let him know, so he fixed his mouth because judges have been
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 4
             Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 5 of 7



1                docketed pay from 3 days to 11 months. See. 28 USC § 454 with
2                misconduct opinions or impeachment conviction of Judge Ritter for the
                 practice of law.
3
         xii.    April 16, 2021, Judge Engelmayer fixed his mouth and not telling me
4                what intent with defense was and was not going to be and said, “I
                 would not do that either, if I were your lawyer.” And this goes back to
5
                 April 6, 2021 issue
6        xiii.   The other issues of April 16, 2021, were Mr. Silverman lying about
7
                 witnesses—which judge knew because he received my emails too—
                 and financials of judges
8
       12. The above issues with Judge Engelmayer and Judge Donnelly are issues for
9
          conspiracy during Judge Porteous’ impeachment trial, civil trial case law, and
10

11
          criminal trial case law BECAUSE the person who is lying about the

12
          association is a conspirator

13     13. Ms. Kopplin witnessed Judge Swain hide her association with Sen. Schumer,
14        which was discussed at Judge Porteous’ trail for conspiracy and there are
15        case law in civil and criminal that deal with this issue too.
16     14. Randi Weingarten promotes Sen. Schumer initiatives for
          favors, like placing his judges in cases to harm me, like
17
          take my liberty away, rob me of retro money, ensure that I
18
          will get fired, and to intimidate me for Randi’s interest
19
       15. Randi Weingarten uses her nearly 2 million members to help
20        get Sen. Schumer’s people elected, so that he became
21        majority leader in 2020
22     16. Sen. Schumer believes that Randi Weingarten is like a

23
          sister and does favors for her, like place his judges in my
          cases to harm me, like take my liberty, rob me of retro
24
          money, rob my parents of their pension money, and ensure
25
          that I will get fired because facts are hidden
26     17. Sen. Schumer provided Randi Weingarten with access to the
27        judges he recommended to the bench in exchange for Randi
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 5
              Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 6 of 7



1          Weingarten promotes Sen. Schumer’s initiatives and helped
2          the senator become majority leader by bringing citizen of

3
           Georgia to vote or knocked on the citizens of Georgia’s
           doors to sell the democratic ticket—without the help of the
4
           AFT, Sen. Schumer would not have his position
5
           i.     There are pictures on social media to show the AFT’s
6
                  help in Georgia and throughout the election
7      18. Please Take Notice, the senate ethics’ handbook states: The word ‘‘gift’’ is defined
           broadly and includes any ‘‘item having monetary value.’’ Specifically, paragraph 2(b)(1)
8
           of the Rule states:
9
     [T]he term ‘‘gift’’ means any gratuity, favor, discount, entertainment, hospitality, loan,
10   forbearance, or other item having monetary value. The term includes gifts of services, training,
     transportation, lodging, and meals, whether provided in kind, by purchase of a ticket, payment in
11
     advance, or reimbursement after the expense has been incurred.
12
       19. Ms. Kopplin deprived me an opportunity to get six senators to pick up my complaint
13         because she knew that Sen. Schumer and Randi Weingarten traded favor so that he could
14
           become majority leader with AFT’s help and Randi would have Schumer judges deprive
           me of all rights
15
                     Count 1: DECLARATORY AND INJUNCTIVE RELIEF –
16

17
       20. Declaratory Judgment that Ms. Kopplin ignored how Randi Weingarten
18
           exchanged her help and AFT resources for favors that Sen. Schumer can
19
           provide in terms of judges
20
       21. Ms. Kopplin covered up Sen. Schumer helping Randi Weingarten deprive
21
           me of all constitutional rights
22
       22. Ms. Kopplin is aware that Judge Engelmayer committed a crime against me,
23
       23. Ms. Kopplin is aware that Judge Swain covered up Judge Engelmayer’s
24
           crime against me
25
       24. If 80 DOJ personnel knows, then Ms. Kopplin knows because she graduated
26

27
           Georgetown Law School, so is not stupid
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 6
            Case 1:21-cv-03359-CRC Document 3-1 Filed 01/23/22 Page 7 of 7



1      25. Ms. Kopplin is attempt to pull the trick that everyone is pulling with Judge
2         Cogan and no one is stupid—the public just needs to find out
3
       26. I incorporate all other documents into this one
4
       27. Injunctive relief: To have Ms. Kopplin address how Sen. Schumer used his
5
          position to help Randi Weingarten by allowing her access to his judges
6
                 Dated this 31st of December, 2021.
7

8

9

10

11

12

13
                                                                     Lucio Celli, Defendant
14

15

16

17

18

19

20

21

22

23

24

25

26

27
     ADDENDUM TO DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST SHANNON HAMILTON-
28   KOPPLIN WITH RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE, PLAINTIFF REQUESTS A
     TRIAL BY JURY ON ALL ISSUES SO TRIABLE - 7
